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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TENNESSEE
Western Division

 

UNITED STATES OF AMERICA

-vs- Case No. 2:04cr20403-Bre

RON REED

 

ORDER OF TEMPORARY DETENTION
PENDING HEARINGl PURSUANT TO
BAIL REFORM ACT
Upon motion of the Government, it is ORDERED that a bond revocation hearing is set for
FRIDAY, .]ULY 1, 2005 at 3:00 P.M. before United States Magistrate Judge Diane K. Vescovo
in Courtroom No. 5, Third Floor, United States Courthouse and Federal Building, 167 North Main,
Memphis, TN. Pending this hearing, the defendant shall be held in custody by the United States

Marshal and produced for the hearing.

Date: June 29, 2005 /s/ S. Allan Alexander

 

S. ALLAN ALEXANDER
UNITED STATES MAGISTRATE JUDGE
NORTHERN DISTRICT OF MISSISSIPPI

 

1lf not held immediately upon defendants first appearance, the hearing may be continued for up to three days upon
motion of the govemment, or up to five days upon motion of the defendantl 18 U.S.C. § 3142(0(2).

A hearing is required whenever the conditions set forth in 18 U.S.C. § 3142(f) are present Subsection (1) sets forth
the grounds that may be asserted only by the attorney for the government; subsection (2) states that a hearing is mandated
upon the motion of the attorney for the government or upon the judicial officer's own motion, if there is a serious risk that the
defendant (a) will flee or (b) will obstruct or attempt to obstruct justice, or threaten, in jure, or intimidate or attempt to threaten,
injure, or intimidate a prospective witness or juror.

AO 470 [BIBE) Order of Temporary Detentlon

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 59 in
case 2:04-CR-20403 Was distributed by faX, mail, or direct printing on
June 29, 2005 to the parties listed.

 

 

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Honorable J. Breen
US DISTRICT COURT

